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                EXHIBIT 1
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 1                     UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF DELAWARE
 2
                                     .          Chapter 11
 3   IN RE:                          .
                                     .          Case No. 20-10343 (LSS)
 4
     BOY SCOUTS OF AMERICA and       .
 5   DELAWARE BSA, LLC,              .          Courtroom No. 2
                                     .          824 North Market Street
 6                                   .          Wilmington, Delaware 19801
                                     .
 7                     Debtors.      .          September 9, 2020
     . . . . . . . . . . . . . . . . .          11:00 A.M.
 8

 9                  TRANSCRIPT OF TELEPHONIC HEARING
             BEFORE THE HONORABLE LAURIE SELBER SILVERSTEIN
10                   UNITED STATES BANKRUPTCY JUDGE
11
     APPEARANCES:
12
     For the Debtor:             Derek C. Abbott, Esquire
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15
                                 - and -
16
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24
     Proceedings recorded by electronic sound recording;
25   transcript produced by transcription service.
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 1   docket, we have the exhibits available, we're not requiring

 2   every party to file a motion and jump through those hoops to

 3   get access to that information, but we're simply asking that

 4   the information be treated as confidential, in accordance

 5   with the protective order that has already been entered into

 6   this case, and that many of these parties have already signed

 7   onto, and we'll provide that information, and in many cases,

 8   Your Honor, have already provided that information to certain

 9   mediation parties that requested the information and agreed

10   to keep it confidential.

11                THE COURT:     Okay.   You have another bucket?

12                MS. BEVILLE:    I have another bucket.           The other

13   bucket is what I will call the C4 documents or the empowering

14   documents.   And so, Your Honor, these are the requirements

15   stated in Rule 2019 that requires a filing of the copy of the

16   instrument, if any, that authorizes the group to act on

17   behalf of the creditors.

18                And here, Your Honor, I think we've referred to

19   them sometimes as the three-legged stool there.              Are three

20   pieces of information that, in essence, connect the dots here

21   to demonstrate the authority that Brown Rudnick has to act on

22   behalf of the coalition and its members.

23                First, Your Honor, we have redacted copies of the

24   engagement letters between the coalition and Brown Rudnick.

25   Originally, Your Honor, we have engagement letters with Blank
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 1   Rome, but as you have noted, as Rachel Mersky noted earlier,

 2   Blank Rome has withdrawn as counsel and Rachel Mersky has

 3   come in as a substitution of counsel, and that engagement

 4   letter will be subject to the same level of disclosure

 5   determined for the Brown Rudnick engagement letter, but that

 6   engagement letter is being finalized and signed by the

 7   clients, even as we speak.

 8                So, Your Honor, there's the engagement letter

 9   between the coalition and the coalition counsel; it's Brown

10   Rudnick in here, Rachel Mersky.        There is the redacted

11   exemplars of the engagement letters between what I'll call

12   state court counsel and their clients.

13                And so, you'll recall earlier, Your Honor, I

14   listed the names of six law firms, are identified in our 2019

15   statement.   Those six law firms, Your Honor, have individual

16   engagement letters with each of their clients and so rather

17   than produce 12,000 copies of signed engagement letters, Your

18   Honor, the case law supports that to satisfy Rule 2019,

19   parties can provide exemplars of the engagement letters that

20   have been signed.

21                And so, here, Your Honor, we have made available

22   exemplars of the engagement letters between the individual

23   state court counsel and their clients; those are the

24   coalition members.

25                And, Your Honor, the third piece of information
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 1   that I don't believe is necessary under Rule 2019 or the

 2   documents that have previously been identified, we've also

 3   included exemplars of the notice that the state court counsel

 4   sent to their clients that informed their clients about the

 5   formation of the coalition, their clients' participation in

 6   the coalition and the coalition's retention of Brown Rudnick

 7   as counsel.

 8                 And so, Your Honor -- but those three documents, I

 9   will call the "empowering documents" and we can get to later

10   in argument the sufficiency of those documents, those

11   documents have been provided, were publicly filed on Friday.

12                 Your Honor, let me provide you -- they were filed

13   on Friday at Docket Number 1257-1.         So, those engagement

14   letters and exemplar notifications are publicly available as

15   Exhibit 1 to our omnibus reply.

16                 Portions of the engagement letters were redacted

17   as those portions were redacted, Your Honor, because they're

18   not relevant to 2019.     We included the provisions that

19   provide for the authorization and those are the elements that

20   were required, so that's what was disclosed, and we did

21   redact the remainder or the irrelevant portions of those

22   retainer agreements, and primarily, as to relevance, but

23   also, Your Honor, there is commercially sensitive information

24   as far as, you know, pricing or whatnot that we did not -- we

25   sought to protect under the motion to file under seal.
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 1   whether or not there was ethical compliance in a sense -- in

 2   connection with the retentions, themselves, because the

 3   concern was that the retentions, in essence, be valid in

 4   retentions, that these folks really can bind their individual

 5   clients.

 6                 There's a central issue, just with the Brown

 7   Rudnick, which, you know, I'm a fast reader, but I couldn't

 8   get through what had been withheld in terms of engagement;

 9   whether or not they really represent any claimants.               And the

10   form of this that was previously filed that was redacted, it

11   showed exhibit -- the exhibit as being redacted as if it

12   listed the members.

13                 What we just got is not redacted; it's just blank,

14   okay.   And so it terms in there that, say, things like you

15   consent to pay our fees, members, but by paying them we don't

16   have an attorney-client relationship with them.

17                 That's not the kind of provision I run into very

18   often and we would like to consult with Charles Selena

19   (phonetic) on that and whether or not these are valid

20   retentions.    These are people that we can sit down and

21   negotiate with them and can actually bind the individual

22   members.

23                 MR. STANG:   Your Honor, Mr. Stang on behalf of the

24   tort claimants committee.

25                 Your Honor, your request is, as I understood it,
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 1   do I have to get into the issues of whether these agreements

 2   comply with the ethical requirements of state law to deal

 3   with the 2019 statement?

 4                 It is fundamental to -- an answer to that question

 5   is, who makes up this so-called coalition?             Is it abuse

 6   survivors?    Is it abuse survivors and law firms?             Is it law

 7   firms only?

 8                 And to the extent -- and it's very clear, even

 9   from the Brown Rudnick engagement letter that was redacted --

10   that it can only act upon the unanimous direction of the

11   (indiscernible) law firm.

12          (Audio feedback)

13                 MR. STANG:   I'm getting an echo, but I'm not sure

14   why.

15                 If the law firms have ethical issues in connection

16   with their underlying retentions, then I think it, in effect,

17   infects Brown Rudnick's ability to represent people, because

18   they can only take direction from -- if all of those law

19   firms unanimously consent.         Everything in the Brown Rudnick

20   engagement letter goes through the law firms.

21                 There's -- in my quick read, there's not a single

22   provision that there that actually doesn't go through the law

23   firms, as communication consents, and as I read it, I

24   wondered if any of the 12,000 men have ever seen the Brown

25   Rudnick engagement letter, much less consented to it
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 1   that supplying Mr. Ruggeri and Mr. Schiavoni with the

 2   unredacted Exhibit A, subject to the protective order, is not

 3   an issue, correct?

 4               MS. BEVILLE:     Your Honor, the unredacted Exhibit A

 5   is the names and addresses of the sexual abuse victims.

 6               THE COURT:     Uh-huh.    So, subject to the

 7   confidentiality order, is that an issue?

 8               MS. BEVILLE:    Your Honor, let me just -- I think

 9   we can do that, Your Honor.        I'd also like to just make sure

10   that it's entitled to the same protections as that

11   information is provided under the bar date order, so that

12   there's not, I'll say, additional access, perhaps, given or

13   ability to share anything that's provided under the bar date

14   order.

15               THE COURT:    Okay.     I will let you look for that.

16               In terms of the TCC, I assumed those redactions

17   were related to the redactions in the exemplars and the

18   retainer letters, and, therefore, the TCC's filings can be

19   unredacted and filed on the public docket.

20               MS. BEVILLE:     Your Honor --

21               MR. STANG:    Your Honor, that is correct, with the

22   exception of our redacted exhibit of Mr. Kosnoff's email.

23   The redactions refer to conversations between committee

24   members and counsel -- not my firm -- but lawyers who operate

25   under a common interest agreement at the time with the
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 1                                CERTIFICATE

 2

 3         I certify that the foregoing is a correct transcript
 4   from the electronic sound recording of the proceedings in the
 5
     above-entitled matter.
 6
     /s/Mary Zajaczkowski                     September 11, 2020
 7   Mary Zajaczkowski, CET**D-531
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